    Case: 1:17-md-02804-DAP Doc #: 5202 Filed: 09/22/23 1 of 1. PageID #: 623722




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

    IN RE NATIONAL PRESCRIPTION OPIATE
    LITIGATION
                                                         MDL No. 2804
    THIS DOCUMENT RELATES TO:                            Case No. 17-md-2804
    Track Eight: Cobb County, Georgia
    Track Ten: Durham County, North Carolina             Judge Dan Aaron Polster

    (Case Nos. 1:18-op-45817; 1:19-op-45346)


           ORDER MODIFYING TRACKS 8 & 10 CASE MANAGEMENT ORDER

          It is hereby ORDERED that the following dates in the Case Management Order for Tracks

8 and 10 (Docket No. 4932) are revised to be the same as the Deadlines in Track 9 as follows:

                 EVENT                       CURRENT           CURRENT TRACK 92 and
                                          TRACKS 8 & 10          NEW TRACKS 8 & 10
                                            DEADLINES1               DEADLINES
    Deadline for Plaintiff Expert Report September 25, 2023   November 30, 2023
    Disclosures
    Deadline for Deposition of Plaintiff October 30, 2023     January 12, 2024
    Experts
    Deadline for Defendant Expert        November 30, 2023    February 7, 2024
    Report Disclosures
    Deadline for Deposition of           January 18, 2024     March 7, 2024
    Defendant Experts
    Deadline to file Dispositive and     February 5, 2024     March 21, 2024
    Daubert motions
    Deadline for responses to Daubert    March 4, 2024        April 18, 2024
    and
    dispositive motions.
    Deadline for replies in support of   March 21, 2024       May 6, 2024
    Daubert
    and dispositive motions

          IT IS SO ORDERED.

Dated: September 22, 2023                           s/ Dan Aaron Polster
                                                    Judge Dan Aaron Polster

1
    See ECF No. 4932, Case No. 1:17-md-2804
2
    See ECF No. 5143, Case No. 1:17-md-2804
